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 6
                                     UNITED STATES DISTRICT COURT
 7                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 8

 9   HTC CORPORATION and HTC                       Case No.: 2:17-cv-00534-MJP
     AMERICA, INC.
10                                                ORDER GRANTING MOTION TO SEAL
                                Plaintiffs,
11
             v.
12
     TELEFONAKTIEBOLAGET LM
13   ERICSSON and ERICSSON, INC.,
14
                                Defendants.
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     ORDER GRANTING
     MOTION TO SEAL
     Case No. 2:17-cv-534 – 1
                Case 2:17-cv-00534-MJP Document 63 Filed 01/08/18 Page 2 of 3




 1           This matter came before the court on Plaintiffs’ Motion to Seal. Having reviewed
 2   Plaintiffs’ Motion and being advised that Defendants have no objection to the motion, now,
 3   therefore, it is
 4           ORDERED that the motion is GRANTED; and it is further
 5           ORDERED that Plaintiffs’ Opposition to Defendants’ Motion to Dismiss or Transfer, as
 6   well as Exhibits W-Z, AD-AF, AX, AZ and BG to the Declaration of Kevin A. Zeck in Support
 7   of Plaintiffs’ Opposition to the Motion to Dismiss or Transfer, shall REMAIN SEALED.
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10           SO ORDERED this _8th_ day of __January__, 2018.
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                                                        A
                                                        Marsha J. Pechman
                                                        United States District Judge
14
     Presented by:
15
     By:     /s/Kevin A. Zeck
16           Kevin A. Zeck, # 41689
             Perkins Coie LLP
17           1201 Third Avenue, Suite 4900
18           Seattle, WA 98101-3099
             Telephone: 206.359.8000
19           Facsimile: 206.359.9000
             Email: KZeck@perkinscoie.com
20
             Attorneys for Plaintiffs HTC Corporation
21           And HTC America, Inc.
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     ORDER GRANTING
     MOTION TO SEAL
     Case No. 2:17-cv-534 – 2
               Case 2:17-cv-00534-MJP Document 63 Filed 01/08/18 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that on January 6, 2018, I caused copies of the foregoing document to be
 3   served via ECF to the following counsel of record:
 4
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      LM Ericsson and Ericsson, Inc.
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16
                                                          /s/ Kevin A. Zeck
17                                                        Kevin A. Zeck

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     ORDER GRANTING
     MOTION TO SEAL
     Case No. 2:17-cv-534 – 3
